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AO 91 (Rev. 11/11) Criminal Complaint FILED
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UNITED STATES DISTRICT COURT | jay sy
for the —
Eastern District of Virginia CLERK, US. DISTRICT COURT
NORFOLK, VA
United States of America )
Vv. )
) Case No. 4:23-mj- \
RICHARD JEROD WHITLEY, JR. )
)
)

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of July 15, 2022 in the Eastern District of Virginia, the defendant(s) violated:
Code Section(s) Offense Description(s)
18 ULS.C., § 2252A(a)(2) Distribution of Child Pornography

This criminal complaint is based on these facts: Please see attached Affidavit.

&] Continued on the attached sheet.

READ AND APPROVED:

Ka G. Osyf,

Assistant United States Attorney

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“A/ Complainant's signature

Desirae Maldonado, Special Agent, FBI

Printed name and title

Sworn to before me and signed in my presence.

Date: January 6, 2023
Judge's signature

Robert J. Krask, United States Magistrate Judge

Printed name and title

City and state: Norfolk, Virginia
